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                                                     JRG3,JURY,PATENT/TRADEMARK,PROTECTIVE−ORDER
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                                      U.S. District Court
                          Eastern District of TEXAS [LIVE] (Marshall)
                       CIVIL DOCKET FOR CASE #: 2:21−cv−00435−JRG

Jawbone Innovations, LLC v. Amazon.com, Inc. et al                  Date Filed: 11/29/2021
Assigned to: District Judge Rodney Gilstrap                         Jury Demand: Both
Related Case: 2:21−cv−00186−JRG−RSP                                 Nature of Suit: 830 Patent
Cause: 28:1338 Patent Infringement                                  Jurisdiction: Federal Question
Plaintiff
Jawbone Innovations, LLC                             represented by Jacob Daniel Ostling
                                                                    Fabricant LLP − Rye
                                                                    411 Theodore Fremd Road
                                                                    Suite 206 South
                                                                    Rye, NY 10580
                                                                    212−257−5797
                                                                    Fax: 212−257−5796
                                                                    Email: jostling@fabricantllp.com
                                                                    ATTORNEY TO BE NOTICED

                                                                    Jennifer Leigh Truelove
                                                                    McKool Smith, P.C. − Marshall
                                                                    104 East Houston St
                                                                    Suite 300
                                                                    Marshall, TX 75670
                                                                    903−923−9000
                                                                    Fax: 903−923−9099
                                                                    Email: jtruelove@mckoolsmith.com
                                                                    ATTORNEY TO BE NOTICED

                                                                    Peter Lambrianakos
                                                                    Fabricant LLP
                                                                    411 Theodore Fremd Avenue
                                                                    Suite 206 South
                                                                    Rye, NY 10580
                                                                    212−257−5797
                                                                    Fax: 212−257−5796
                                                                    Email: plambrianakos@fabricantllp.com
                                                                    ATTORNEY TO BE NOTICED

                                                                    Richard Matthew Cowell
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                                                                    Fax: 212−257−5796
                                                                    Email: rcowell@fabricantllp.com
                                                                    ATTORNEY TO BE NOTICED
                   Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 2 of 9
                                                          Samuel Franklin Baxter
                                                          McKool Smith, P.C. − Marshall
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                                                          Suite 300
                                                          Marshall, TX 75670
                                                          903/923−9000
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                                                          ATTORNEY TO BE NOTICED


V.
Defendant
Amazon.com, Inc.                            represented by Colin B. Heideman
                                                           Knobbe Martens Olson & Bear LLP − Seattle
                                                           925 Fourth Avenue
                                                           Suite 2500
                                                           Seattle, WA 98104
                                                           206−405−2000
                                                           Fax: 206−405−2001
                                                           Email: colin.heideman@knobbe.com
                                                           ATTORNEY TO BE NOTICED

                                                          Deron R Dacus
                                                          The Dacus Firm, PC
                                                          821 ESE Loop 323
                                                          Suite 430
                                                          Tyler, TX 75701
                                                          903/705−1117
                                                          Fax: 903/581−2543
                                                          Email: ddacus@dacusfirm.com
                                                          ATTORNEY TO BE NOTICED
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 3 of 9
                                                           Jeremy A. Anapol
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                                                           Fax: 949.760.9502
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                                                           ATTORNEY TO BE NOTICED

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                                                           Irvine, CA 92614
                                                           949−760−0404
                                                           Fax: 949−760−9502
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                                                           Logan Young
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                                                           925 Fourth Avenue
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                                                           Seattle, WA 98104
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                                                           Fax: 206−405−2001
                                                           Email: logan.young@knobbe.com
                                                           ATTORNEY TO BE NOTICED

                                                           Mark Lezama
                                                           Knobbe Martens
                                                           2040 Main St.
                                                           Ste 14th Floor
                                                           Irvine, CA 92614
                                                           949−760−0404
                                                           Fax: 949−760−9502
                                                           Email: mark.lezama@knobbe.com
                                                           ATTORNEY TO BE NOTICED

Defendant
Amazon.com Services, Inc.                     represented by Colin B. Heideman
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                           Deron R Dacus
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Jeremy A. Anapol
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Joseph R. Re
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 4 of 9
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Logan Young
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Mark Lezama
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED


Date Filed     #    Docket Text

11/29/2021    Ï1    COMPLAINT FOR PATENT INFRINGEMENT against Amazon.com Services, Inc., Amazon.com,
                    Inc. ( Filing fee $ 402 receipt number 0540−8689059.), filed by Jawbone Innovations, LLC.
                    (Attachments: # 1 Exhibit A − U.S. Patent No. 8,019,091, # 2 Exhibit B − U.S. Patent No.
                    7,246,058, # 3 Exhibit C − U.S. Patent No. 8,280,072, # 4 Exhibit D − U.S. Patent No. 8,321,213, #
                    5 Exhibit E − U.S. Patent No. 8,326,611, # 6 Exhibit F − U.S. Patent No. 10,779,080, # 7 Exhibit G
                    − U.S. Patent No. 11,122,357, # 8 Exhibit H − U.S. Patent No. 8,467,543, # 9 Civil Cover
                    Sheet)(Fabricant, Alfred) (Entered: 11/29/2021)

11/29/2021    Ï2    Notice of Filing of Patent/Trademark Form (AO 120). AO 120 mailed to the Director of the U.S.
                    Patent and Trademark Office. (Fabricant, Alfred) (Entered: 11/29/2021)

11/29/2021    Ï3    CORPORATE DISCLOSURE STATEMENT filed by Jawbone Innovations, LLC (Fabricant,
                    Alfred) (Entered: 11/29/2021)

11/29/2021    Ï4    NOTICE of Attorney Appearance by Alfred Ross Fabricant on behalf of Jawbone Innovations, LLC
                    (Fabricant, Alfred) (Entered: 11/29/2021)

11/29/2021    Ï5    NOTICE of Attorney Appearance by Peter Lambrianakos on behalf of Jawbone Innovations, LLC
                    (Lambrianakos, Peter) (Entered: 11/29/2021)

11/29/2021    Ï6    NOTICE of Attorney Appearance by Vincent J Rubino, III on behalf of Jawbone Innovations, LLC
                    (Rubino, Vincent) (Entered: 11/29/2021)

11/30/2021     Ï    Case assigned to District Judge Rodney Gilstrap. (ch, ) (Entered: 11/30/2021)

11/30/2021     Ï    In accordance with the provisions of 28 USC Section 636(c), you are hereby notified that a U.S.
                    Magistrate Judge of this district court is available to conduct any or all proceedings in this case
                    including a jury or non−jury trial and to order the entry of a final judgment. The form Consent to
                    Proceed Before Magistrate Judge is available on our website. All signed consent forms, excluding
                    pro se parties, should be filed electronically using the event Notice Regarding Consent to Proceed
                    Before Magistrate Judge. (ch, ) (Entered: 11/30/2021)

11/30/2021    Ï7    SUMMONS Issued as to Amazon.com Services, Inc., Amazon.com, Inc.. (Attachments: # 1
                    Summons(es))(ch, ) (Entered: 11/30/2021)

11/30/2021    Ï8    NOTICE of Attorney Appearance by Samuel Franklin Baxter on behalf of Jawbone Innovations,
                    LLC (Baxter, Samuel) (Entered: 11/30/2021)

11/30/2021    Ï9    NOTICE of Attorney Appearance by Jennifer Leigh Truelove on behalf of Jawbone Innovations,
                    LLC (Truelove, Jennifer) (Entered: 11/30/2021)

11/30/2021   Ï 10   NOTICE of Attorney Appearance by Jacob Daniel Ostling on behalf of Jawbone Innovations, LLC
                    (Ostling, Jacob) (Entered: 11/30/2021)
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 5 of 9
12/06/2021   Ï 11   SUMMONS Returned Executed by Jawbone Innovations, LLC. Amazon.com, Inc. served on
                    12/1/2021, answer due 12/22/2021. (Fabricant, Alfred) (Entered: 12/06/2021)

12/06/2021   Ï 12   SUMMONS Returned Executed by Jawbone Innovations, LLC. Amazon.com Services, Inc. served
                    on 12/1/2021, answer due 12/22/2021. (Fabricant, Alfred) (Entered: 12/06/2021)

12/15/2021   Ï 13   NOTICE of Attorney Appearance by Richard Matthew Cowell on behalf of Jawbone Innovations,
                    LLC (Cowell, Richard) (Entered: 12/15/2021)

12/20/2021   Ï 14   Defendant's Unopposed First Application for Extension of Time to Answer Complaint re
                    Amazon.com Services, Inc., Amazon.com, Inc..( Dacus, Deron) (Entered: 12/20/2021)

12/21/2021     Ï    Defendant's Unopposed First Application for Extension of Time to Answer Complaint is granted
                    pursuant to Local Rule CV−12 for Amazon.com Services, Inc. to 1/21/2022; Amazon.com, Inc. to
                    1/21/2022. 30 Days Granted for Deadline Extension.( nkl, ) (Entered: 12/21/2021)

12/21/2021   Ï 15   Defendant's Unopposed Second Application for Extension of Time to Answer Complaint re
                    Amazon.com Services, Inc., Amazon.com, Inc..( Dacus, Deron) (Entered: 12/21/2021)

12/22/2021     Ï    Defendant's Unopposed Second Application for Extension of Time to Answer Complaint is granted
                    pursuant to Local Rule CV−12 for Amazon.com Services, Inc. to 2/7/2022; Amazon.com, Inc. to
                    2/7/2022. 15 Days Granted for Deadline Extension.( nkl, ) (Entered: 12/22/2021)

02/07/2022   Ï 16   ANSWER to 1 Complaint,, by Amazon.com Services, Inc., Amazon.com, Inc..(Dacus, Deron)
                    (Entered: 02/07/2022)

02/07/2022   Ï 17   CORPORATE DISCLOSURE STATEMENT filed by Amazon.com Services, Inc., Amazon.com,
                    Inc. (Dacus, Deron) (Entered: 02/07/2022)

02/07/2022     Ï    In accordance with the provisions of 28 USC Section 636(c), you are hereby notified that a U.S.
                    Magistrate Judge of this district court is available to conduct any or all proceedings in this case
                    including a jury or non−jury trial and to order the entry of a final judgment. The form Consent to
                    Proceed Before Magistrate Judge is available on our website. All signed consent forms, excluding
                    pro se parties, should be filed electronically using the event Notice Regarding Consent to Proceed
                    Before Magistrate Judge. (ch, ) (Entered: 02/07/2022)

02/15/2022   Ï 18   ORDER − Scheduling Conference set for 3/16/2022 02:00 PM before District Judge Rodney
                    Gilstrap. Signed by District Judge Rodney Gilstrap on 2/15/2022. (ch, ) (Entered: 02/15/2022)

02/18/2022   Ï 19   NOTICE of Attorney Appearance − Pro Hac Vice by Joseph R. Re on behalf of Amazon.com
                    Services, Inc., Amazon.com, Inc.. Filing fee $ 100, receipt number 0540−8795544. (Re, Joseph)
                    (Entered: 02/18/2022)

02/18/2022   Ï 20   NOTICE of Attorney Appearance − Pro Hac Vice by Colin B. Heideman on behalf of Amazon.com
                    Services, Inc., Amazon.com, Inc.. Filing fee $ 100, receipt number 0540−8795572. (Heideman,
                    Colin) (Entered: 02/18/2022)

02/18/2022   Ï 21   NOTICE of Attorney Appearance − Pro Hac Vice by Jeremy A. Anapol on behalf of Amazon.com
                    Services, Inc., Amazon.com, Inc.. Filing fee $ 100, receipt number 0540−8795596. (Anapol,
                    Jeremy) (Entered: 02/18/2022)

02/18/2022   Ï 22   NOTICE of Attorney Appearance − Pro Hac Vice by Logan Young on behalf of Amazon.com
                    Services, Inc., Amazon.com, Inc.. Filing fee $ 100, receipt number 0540−8795638. (Young, Logan)
                    (Entered: 02/18/2022)

02/28/2022   Ï 23   Joint MOTION for Extension of Time as to Infringement and Invalidity Contentions by Jawbone
                    Innovations, LLC. (Attachments: # 1 Text of Proposed Order)(Lambrianakos, Peter) (Entered:
                    02/28/2022)
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 6 of 9
02/28/2022   Ï 24   AMENDED COMPLAINT FOR PATENT INFRINGEMENT against Amazon.com Services, Inc.,
                    Amazon.com, Inc., filed by Jawbone Innovations, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                    # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit
                    I, # 10 Exhibit J)(Fabricant, Alfred) (Entered: 02/28/2022)

03/10/2022   Ï 25   MOTION to Change Venue Pursuant to 28 USC 1404(a) by Amazon.com Services, Inc.,
                    Amazon.com, Inc.. (Attachments: # 1 Text of Proposed Order, # 2 Affidavit Declaration of Jeremy
                    Anapol, # 3 Exhibit 1 − Certificate of Formation, # 4 Exhibit 2 − PTO Notices, # 5 Exhibit 3 −
                    Baxter Building listing, # 6 Exhibit 4 − Petit LinkedIn profile, # 7 Exhibit 5 − Jing LinkedIn profile,
                    # 8 Exhibit 6 − Einaudi LinkedIn profile, # 9 Exhibit 7 − Alameda County Tax Assessor record, #
                    10 Exhibit 8 − Burnett LinkedIn profile, # 11 Exhibit 9 − Asseily LinkedIn profile, # 12 Exhibit 10
                    − Courtney & Gregory patent prosecution filings, # 13 Exhibit 11 − AliphCom Power of Attorney, #
                    14 Exhibit 12 − Denny, Kokka and Yuan prosecution filings, # 15 Exhibit 13 − Luna Affidavit
                    submitted in 13/959,708, # 16 Exhibit 14 − Gregory LinkedIn profile, # 17 Exhibit 15 − Courtney
                    LinkedIn profile, # 18 Exhibit 16 − Kokka LinkedIn profile, # 19 Exhibit 17 − Denny LinkedIn
                    profile, # 20 Exhibit 18 − Yuan LinkedIn profile, # 21 Exhibit 19 − AliphCom Patent Security
                    Agreement, # 22 Exhibit 20 − AliphCom IP Assignment Agreement, # 23 Exhibit 21 − Rahman
                    LinkedIn profile, # 24 Exhibit 22 − Luna LinkedIn profile, # 25 Exhibit 23 − Jawbone Disclosure of
                    Asserted Claims and Infringement Contentions, # 26 Exhibit 24 − Fortune article, # 27 Exhibit 25 −
                    US Patent 10,972,834, # 28 Exhibit 26 − Lee LinkedIn profile, # 29 Exhibit 27 − Harris LinkedIn
                    profile, # 30 Exhibit 28 − Yen LinkedIn profile, # 31 Exhibit 29 − Google Flights listing, # 32
                    Exhibit 30 − Google Flights listing, # 33 Exhibit 31 − UCC Financing Statement, # 34 Exhibit 32 −
                    Southeast Texas Record article, # 35 Exhibit 33 − Lab126.com archived page, # 36 Affidavit
                    Declaration of Philip Hilmes, # 37 Affidavit Declaration of Andrew Bignell, # 38 Affidavit
                    Declaration of Michael Gore)(Anapol, Jeremy) (Entered: 03/10/2022)

03/11/2022   Ï 26   ORDER granting 23 Joint MOTION for Extension of Time as to Infringement and Invalidity
                    Contentions. Signed by District Judge Rodney Gilstrap on 3/11/2022. (ch, ) (Entered: 03/11/2022)

03/15/2022   Ï 27   ANSWER to 24 Amended Complaint, by Amazon.com Services, Inc., Amazon.com,
                    Inc..(Heideman, Colin) (Entered: 03/15/2022)

03/16/2022     Ï    In accordance with the provisions of 28 USC Section 636(c), you are hereby notified that a U.S.
                    Magistrate Judge of this district court is available to conduct any or all proceedings in this case
                    including a jury or non−jury trial and to order the entry of a final judgment. The form Consent to
                    Proceed Before Magistrate Judge is available on our website. All signed consent forms, excluding
                    pro se parties, should be filed electronically using the event Notice Regarding Consent to Proceed
                    Before Magistrate Judge. (ch, ) (Entered: 03/16/2022)

03/16/2022     Ï    Minute Entry for proceedings held before District Judge Rodney Gilstrap: Scheduling Conference
                    held on 3/16/2022. Counsel for the parties appeared. Court asked whether they consented to trial
                    before the U.S. Magistrate Judge. Court then gave the parties Claim Construction and Jury
                    Selection/Trial dates. (Court Reporter Shawn McRoberts, RMR, CRR) (aeb) (Entered: 03/17/2022)

03/21/2022   Ï 28   Agreed MOTION for Extension of Time for Plaintiff's Response and Defendants' Reply to
                    Defendants' Motion to Transfer Venue by Jawbone Innovations, LLC. (Attachments: # 1 Text of
                    Proposed Order)(Lambrianakos, Peter) (Entered: 03/21/2022)

03/24/2022   Ï 29   ORDER granting 28 Motion for Extension of Time for Plaintiffs Response and Defendants Reply to
                    Defendants Motion to Transfer Venue. Signed by District Judge Rodney Gilstrap on 3/23/2022.
                    (nkl, ) (Entered: 03/24/2022)

03/30/2022   Ï 30   Joint MOTION for Entry of Agreed Docket Control Order by Jawbone Innovations, LLC.
                    (Attachments: # 1 Exhibit A − Proposed Docket Control Order)(Fabricant, Alfred) (Entered:
                    03/30/2022)

03/30/2022   Ï 31
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 7 of 9
                    Joint MOTION for Entry of Agreed Discovery Order by Jawbone Innovations, LLC. (Attachments:
                    # 1 Exhibit A − Proposed Discovery Order)(Fabricant, Alfred) (Entered: 03/30/2022)

03/30/2022   Ï 32   Joint MOTION for Entry of Agreed Order Focusing Patent Claims and Prior Art by Jawbone
                    Innovations, LLC. (Attachments: # 1 Exhibit A − Proposed Order Focusing Patent Claims and Prior
                    Art)(Fabricant, Alfred) (Entered: 03/30/2022)

04/06/2022   Ï 33   DOCKET CONTROL ORDER− Markman Hearing set for 1/18/2023 09:00 AM before District
                    Judge Rodney Gilstrap., Jury Selection set for 7/10/2023 09:00AM before District Judge Rodney
                    Gilstrap., Pretrial Conference set for 6/5/2023 01:30 PM before District Judge Rodney Gilstrap.).
                    Signed by District Judge Rodney Gilstrap on 04/06/2022. (klc, ) (Entered: 04/06/2022)

04/06/2022   Ï 34   DISCOVERY ORDER. Signed by District Judge Rodney Gilstrap on 04/06/2022. (klc, ) (Entered:
                    04/06/2022)

04/06/2022   Ï 35   NOTICE by Amazon.com Services, Inc., Amazon.com, Inc. of Compliance with Docket Control
                    Order and Discovery Order Paragraphs 1 & 2 (Initial and Additional Disclosures) (Heideman,
                    Colin) (Entered: 04/06/2022)

04/06/2022   Ï 36   Joint MOTION for Extension of Time for Parties to Submit Proposed Protective Order by Jawbone
                    Innovations, LLC. (Attachments: # 1 Text of Proposed Order)(Lambrianakos, Peter) (Entered:
                    04/06/2022)

04/07/2022   Ï 37   ORDER granting 36 Motion for Extension of Time for Parties to Submit Proposed Protective Order.
                    Signed by District Judge Rodney Gilstrap on 4/7/2022. (nkl, ) (Entered: 04/07/2022)

04/07/2022   Ï 38   Unopposed MOTION for Leave to File Under Seal by Jawbone Innovations, LLC. (Attachments: #
                    1 Text of Proposed Order)(Fabricant, Alfred) (Entered: 04/07/2022)

04/07/2022   Ï 39   SEALED RESPONSE In Opposition to Motion re 25 MOTION to Change Venue Pursuant to 28
                    USC 1404(a) filed by Jawbone Innovations, LLC. (Attachments: # 1 Declaration of Alfred R.
                    Fabricant, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                    Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14
                    Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17, # 19 Exhibit 18, # 20
                    Exhibit 19, # 21 Exhibit 20, # 22 Exhibit 21, # 23 Exhibit 22, # 24 Exhibit 23, # 25 Exhibit 24, # 26
                    Exhibit 25, # 27 Exhibit 26, # 28 Exhibit 27, # 29 Exhibit 28, # 30 Exhibit 29, # 31 Exhibit 30, # 32
                    Exhibit 31, # 33 Exhibit 32, # 34 Exhibit 33, # 35 Exhibit 34, # 36 Exhibit 35, # 37 Exhibit 36, # 38
                    Exhibit 37, # 39 Exhibit 38, # 40 Exhibit 39, # 41 Exhibit 40, # 42 Exhibit 41, # 43 Exhibit 42, # 44
                    Exhibit 43, # 45 Exhibit 44, # 46 Exhibit 45, # 47 Exhibit 46, # 48 Exhibit 47, # 49 Exhibit 48, # 50
                    Exhibit 49, # 51 Exhibit 50, # 52 Exhibit 51, # 53 Exhibit 52, # 54 Text of Proposed
                    Order)(Fabricant, Alfred) (Entered: 04/07/2022)

04/08/2022   Ï 40   ORDER granting 38 Motion for Leave to File Under Seal. Court ORDERS that Dkt. No. 39 and all
                    exhibits thereto should be and hereby are SEALED. Signed by District Judge Rodney Gilstrap on
                    4/8/2022. (ch, ) (Entered: 04/11/2022)

04/11/2022   Ï 41   ORDER granting 32 Joint MOTION for Entry of Agreed Order Focusing Patent Claims and Prior
                    Art. Signed by District Judge Rodney Gilstrap on 4/11/2022. (ch, ) (Entered: 04/11/2022)

04/12/2022   Ï 42   REDACTION to 39 Sealed Response to Motion,,,, by Jawbone Innovations, LLC. (Attachments: #
                    1 Declaration of Alfred R. Fabricant, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                    Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit
                    11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit
                    17, # 19 Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20, # 22 Exhibit 21, # 23 Exhibit 22, # 24 Exhibit
                    23, # 25 Exhibit 24, # 26 Exhibit 25, # 27 Exhibit 26, # 28 Exhibit 27, # 29 Exhibit 28, # 30 Exhibit
                    29, # 31 Exhibit 30, # 32 Exhibit 31, # 33 Exhibit 32, # 34 Exhibit 33, # 35 Exhibit 34, # 36 Exhibit
                    35, # 37 Exhibit 36, # 38 Exhibit 37, # 39 Exhibit 38, # 40 Exhibit 39, # 41 Exhibit 40, # 42 Exhibit
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 8 of 9
                    41, # 43 Exhibit 42, # 44 Exhibit 43, # 45 Exhibit 44, # 46 Exhibit 45, # 47 Exhibit 46, # 48 Exhibit
                    47, # 49 Exhibit 48, # 50 Exhibit 49, # 51 Exhibit 50, # 52 Exhibit 51, # 53 Exhibit 52, # 54 Text of
                    Proposed Order)(Fabricant, Alfred) (Entered: 04/12/2022)

04/13/2022   Ï 43   Joint MOTION for Entry of Agreed Protective Order by Jawbone Innovations, LLC. (Attachments:
                    # 1 Exhibit A − Proposed Protective Order)(Fabricant, Alfred) (Entered: 04/13/2022)

04/14/2022   Ï 44   PROTECTIVE ORDER granting 43 Joint MOTION for Entry of Agreed Protective Order. Signed
                    by District Judge Rodney Gilstrap on 4/14/2022. (ch, ) (Entered: 04/14/2022)

04/14/2022   Ï 45   NOTICE by Jawbone Innovations, LLC Regarding Compliance with Service of Its Initial
                    Disclosures to Defendants (Fabricant, Alfred) (Entered: 04/14/2022)

04/18/2022   Ï 46   Joint MOTION for Entry of Agreed E−Discovery Order by Jawbone Innovations, LLC.
                    (Attachments: # 1 Exhibit A − Proposed E−Discovery Order)(Fabricant, Alfred) (Entered:
                    04/18/2022)

04/19/2022   Ï 47   ORDER REGARDING E−DISCOVERY granting 46 Joint MOTION for Entry of Agreed
                    E−Discovery Order. Signed by District Judge Rodney Gilstrap on 4/19/2022. (ch, ) (Entered:
                    04/19/2022)

04/21/2022   Ï 48   REPLY to Response to Motion re 25 MOTION to Change Venue Pursuant to 28 USC 1404(a) filed
                    by Amazon.com Services, Inc., Amazon.com, Inc.. (Attachments: # 1 Supplemental Declaration of
                    Philip Hilmes, # 2 Supplemental Declaration of Jeremy Anapol, # 3 Exhibit 34, # 4 Exhibit 35, # 5
                    Exhibit 36, # 6 Exhibit 37, # 7 Exhibit 38)(Anapol, Jeremy) (Entered: 04/21/2022)

04/28/2022   Ï 49   SUR−REPLY to Reply to Response to Motion re 25 MOTION to Change Venue Pursuant to 28
                    USC 1404(a) filed by Jawbone Innovations, LLC. (Fabricant, Alfred) (Entered: 04/28/2022)

05/18/2022     Ï    NOTICE of Hearing on Motion 25 MOTION to Change Venue Pursuant to 28 USC 1404(a) :
                    Motion Hearing set for 7/19/2022 01:30 PM in Ctrm 106 (Marshall) before District Judge Rodney
                    Gilstrap. (aeb) (Entered: 05/18/2022)

05/25/2022   Ï 50   NOTICE by Amazon.com Services, Inc., Amazon.com, Inc. of Compliance with Docket Control
                    Order and Local Patent Rule P.R. 3−4(a) (Heideman, Colin) (Entered: 05/25/2022)

06/21/2022     Ï    NOTICE of Hearing on Motion 25 MOTION to Change Venue Pursuant to 28 USC 1404(a) :
                    Motion Hearing set for 7/19/2022 09:00 AM in Ctrm 106 (Marshall) before District Judge Rodney
                    Gilstrap. **NOTE: ONLY THE TIME HAS CHANGED.(aeb) (Entered: 06/21/2022)

06/23/2022   Ï 51   NOTICE by Amazon.com Services, Inc., Amazon.com, Inc. of Compliance with Docket Control
                    Order and Local Patent Rule P.R. 3−3 and 3−4 (Heideman, Colin) (Entered: 06/23/2022)

07/05/2022   Ï 52   NOTICE of Attorney Appearance − Pro Hac Vice by Mark Lezama on behalf of Amazon.com
                    Services, Inc., Amazon.com, Inc.. Filing fee $ 100, receipt number ATXEDC−9002958. (Lezama,
                    Mark) (Entered: 07/05/2022)

07/19/2022   Ï 53   Minute Entry for proceedings held before District Judge Rodney Gilstrap: Motion Hearing held on
                    7/19/2022 re 25 MOTION to Change Venue Pursuant to 28 USC 1404(a) filed by Amazon.com,
                    Inc., Amazon.com Services, Inc.. (Court Reporter Shawn McRoberts, RMR, CRR) (Attachments: #
                    1 Attorney Attendance Sheet) (aeb) (Entered: 07/19/2022)

08/01/2022   Ï 54   Opposed SEALED MOTION for Leave to Supplement the Record In Support of Jawbone
                    Innovations, LLC's Opposition to Defendants Amazon.com, Inc. and Amazon.com Services, Inc.'s
                    Motion to Transfer Venue to the Northern District of California Pursuant to 28 U.S.C. § 1404(a) by
                    Jawbone Innovations, LLC. (Attachments: # 1 Exhibit A, # 2 Text of Proposed
                    Order)(Lambrianakos, Peter) (Entered: 08/01/2022)
                     Case 5:22-cv-06727-NC Document 61 Filed 11/01/22 Page 9 of 9
08/04/2022   Ï 55   REDACTION to 54 Opposed SEALED MOTION for Leave to Supplement the Record In Support
                    of Jawbone Innovations, LLC's Opposition to Defendants Amazon.com, Inc. and Amazon.com
                    Services, Inc.'s Motion to Transfer Venue to the Northern District of California Pur by Jawbone
                    Innovations, LLC. (Attachments: # 1 Exhibit A, # 2 Text of Proposed Order)(Lambrianakos, Peter)
                    (Entered: 08/04/2022)

08/11/2022   Ï 56   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Hearing on Motion to Transfer Proceedings
                    held on 07/19/2022 before Judge Rodney Gilstrap. Court Reporter/Transcriber: Shawn
                    McRoberts,Telephone number: (903) 923−8546.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7) days to file with
                    the Court a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed,
                    the transcript will be made remotely electronically available to the public without redaction
                    after 90 calendar days. The policy is located on our website at www.txed.uscourts.gov

                    Transcript may be viewed at the court public terminal or purchased through the Court
                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER.. Motion to Redact due 9/1/2022. Release of Transcript Restriction set
                    for 11/9/2022. (smm, ) (Entered: 08/11/2022)

08/16/2022   Ï 57   RESPONSE in Opposition re 54 Opposed SEALED MOTION for Leave to Supplement the Record
                    In Support of Jawbone Innovations, LLC's Opposition to Defendants Amazon.com, Inc. and
                    Amazon.com Services, Inc.'s Motion to Transfer Venue to the Northern District of California Pur
                    filed by Amazon.com Services, Inc., Amazon.com, Inc.. (Attachments: # 1 Text of Proposed Order, #
                    2 Declaration of Colin Heideman, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Exhibit
                    4)(Heideman, Colin) (Entered: 08/16/2022)

09/14/2022   Ï 58   NOTICE by Amazon.com Services, Inc., Amazon.com, Inc. of Compliance with Docket Control
                    Order and Local Patent Rule P.R. 4−1 (Heideman, Colin) (Entered: 09/14/2022)

09/15/2022   Ï 59   NOTICE by Jawbone Innovations, LLC of Compliance with service of its P. R. 4−1 Disclosures
                    (Fabricant, Alfred) (Entered: 09/15/2022)

09/21/2022   Ï 60   ORDER denying 54 Sealed Motion; granting 25 Motion to Change Venue. Signed by District Judge
                    Rodney Gilstrap on 9/21/2022. (ch, ) (Entered: 09/21/2022)
